           Case 3:13-cr-03542-JAH                      Document 69                Filed 01/29/14              PageID.216              Page 1 of 2


     ~AO 245B (CASD) (Rev, 1112)    Judgment in a Criminal Case
                Sheet 1




                                               UNITED STATES DISTRICT COtJR~_~.~,~,~~_..,_,,,,
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                           Efrain Aburto-Reyna-2                                     Case Number: l3-cr-03542-JAH-2
                                                                                     Lupe C Rodriguez Jr
                                                                                     Defendant's Attorney
     REGISTRATION NO. 59644198

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) . .:O:.:n.:,:e__o:.:f...:t.:,:he:.....ln__ti_o_rm_a__t_io_n_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D was found gUilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count( s), which involve the following offense( s):
                                                                                                                                            Count
     Title & Section                          Nature ofOtJense                                                                             Numberlsl
8:1324(a)(I)(A)(ii) and               Transportation of Illegal Aliens                                                                     I
(v)(II)




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _-------------------------------------
                                                        _ _ _ _ _ _ _ is 0 are 0 dismissed on the motion ofthe United States.
  181 Assessment: $100.00 waived.


  181 No fine                                       o Forfeiture pursuant to order filed ---------- , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                          13-cr-03542-JAH-2
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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
            Sheet 2 -Imprisonment
                                                                                             Judgment - Page _ _2 _ of       2
 DEFENDANT: Efrain Aburto-Reyna -2
 CASE NUMBER: 13-cr-03542..JAH-2
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Twelve months and one day.



    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o   The defendant is remanded to the custody of the United States MarshaL

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.     on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States MarshaL

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                   ---------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL

                                                                   By
                                                                        ---------~D~E~PUT~Y~UM~=TE=D~ST=A=TES~MA~~RSHAL~~-----------




                                                                                                               13-cr-03542..JAH-2
